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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :     CASE NO.
                                                  :
                       v.                         :
                                                  :     VIOLATIONS:
 WILLIAM POPE, and                                :     18 U.S.C. § 231(a)(3)
 MICHAEL POPE,                                    :     (Civil Disorder)
                                                  :     18 U.S.C. §§ 1512(c)(2),
               Defendants.                        :     (Obstruction of an Official Proceeding)
                                                  :     18 U.S.C. § 1752(a)(1)
                                                  :     (Entering and Remaining in a Restricted
                                                  :     Building or Grounds)
                                                  :     18 U.S.C. § 1752(a)(2)
                                                  :     (Disorderly and Disruptive Conduct in a
                                                  :     Restricted Building or Grounds)
                                                  :     40 U.S.C. § 5104(e)(2)(D)
                                                  :     (Disorderly Conduct in
                                                  :     a Capitol Building)
                                                  :     40 U.S.C. § 5104(e)(2)(E)
                                                  :     (Impeding Passage Through the Capitol
                                                  :     Grounds or Buildings)
                                                  :     40 U.S.C. § 5104(e)(2)(G)
                                                  :     (Parading, Demonstrating, or Picketing in
                                                  :     a Capitol Building)
                                                  :


                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe

the disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States

has established that a compelling governmental interest exists to justify the requested sealing.

       1.       IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

                                                  1
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application to seal, and this Order are sealed until both arrest warrants are executed.

       2.       IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrants until they are executed.


                                                                              2021.02.10
                                                                              12:51:30 -05'00'
Date: February 10, 2021                               ___________________________________
                                                      =,$ 0 )$5848,
                                                      UNITED STATES MAGISTRATE JUDGE




                                                 2
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                               COUNT/                                        PENALTIES
         STATUTE
                             FORFEITURE     BRIEF DESCRIPTION      (Include Supervised Release
    (Title and Section(s))   ALLEGATION                              and Special Assessment)
18 U.S.C. § 1512(c)(2)          ONE       Obstructing or Impeding 20 years max term
                                          Any Official Proceeding imprisonment; 3 years max
CLASS C FELONY                                                    term supervised release;
                                                                  $250,000.00 max fine; $100
                                                                  Special Assessment

18 U.S.C. § 231(a)(3)           TWO             Civil Disorder       5 years max term
                                                                     imprisonment; max term 3
CLASS D FELONY                                                       years supervised release;
                                                                     max fine $250,000.00; $100
                                                                     Special Assessment

18 U.S.C. § 1752(a)(1)         THREE       Entering and Remaining 1 year max term
                                          in a Restricted Building or imprisonment; 1 year max
CLASS A MISDEMEANOR                                Grounds            supervised release;
                                                                      $100,000.00 max fine; $100
                                                                      Special Assessment

18 U.S.C. § 1752(a)(2)         FOUR       Disorderly and Disruptive 1 year max term
                                           Conduct in a Restricted imprisonment; 1 year max
CLASS A MISDEMEANOR                         Building or Grounds     supervised release;
                                                                    $100,000.00 max fine; $100
                                                                    Special Assessment

40 U.S.C. § 5104(e)(2)(D)       FIVE       Disorderly Conduct in a   6 months max
                                              Capitol Building       imprisonment; 1 year max
CLASS B MISDEMEANOR                                                  supervised release;
                                                                     $5,000.00 max fine; $100
                                                                     Special Assessment

40 U.S.C. § 5104(e)(2)(E)       SIX          Impeding Passage        6 months max
                                            Through the Capitol      imprisonment; 1 year max
CLASS B MISDEMEANOR                         Grounds or Buildings     supervised release;
                                                                     $5,000.00 max fine; $100
                                                                     Special Assessment

40 U.S.C. § 5104(e)(2)(G)      SEVEN      Parading, Demonstrating, 6 months max
                                           or Picketing in a Capitol imprisonment; 1 year max
CLASS B MISDEMEANOR                                Building          supervised release;
                                                                     $5,000.00 max fine; $100
                                                                     Special Assessment
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                    UNITED STATES DISTRICT COURT
                          DISTRICT OF IDAHO
                U.S. MAGISTRATE JUDGE MINUTE ENTRY

(X) Video Initial Appearance on a Rule 5- Complaint
(X) Video Preliminary Exam: Waived


MAGISTRATE JUDGE: Candy W. Dale                              DATE: February 12, 2021
DEPUTY CLERK/ESR: Sunny Trumbull                             TIME: 4:28 – 4:49 p.m.

               UNITED STATES OF AMERICA vs. MICHAEL POPE
                    District of Idaho case #2:21-mj-420-CWD
                    District of Columbia case #1:21-mj-217



Counsel for: United States (AUSA): Traci Whelan
             Defendant: Michael Palmer, retained counsel
             USPO: Emma Wilkins

(X) Defendant waived personal appearance for today’s proceeding.
(X) Defendant appeared in custody on Warrant/Complaint from the District of Columbia.
(X) Court reviewed the Complaint. Defendant waived reading of the Complaint.
(X) Court provided initial appearance advising of all constitutional rights to counsel the charging
document and Rule 5 proceedings.
(X) Defendant waived an identity hearing and preliminary examination.
(X) The Government is not seeking detention. The parties agreed on release conditions.
(X) The Court reviewed release conditions.

(X) Court entered Order Setting Conditions of Release.
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Case 1:21-mj-00217-ZMF Document 7 Filed 02/12/21 Page 12 of 14
2/25/2021              Case 1:21-mj-00217-ZMF Document
                                                 District of 7   Filed
                                                             Idaho       02/12/21 Page 13 of 14
                                                                   Live CM/ECF

                                       U.S. District Court
                 District of Idaho (LIVE Database) Version 6.3 (CDA - Northern)
              CRIMINAL DOCKET FOR CASE #: 2:21-mj-00420-CWD All Defendants


 Case title: USA v. Pope                                                              Date Filed: 02/12/2021
 Other court case number: 1:21-mj-217 U.S. District Court of
                          District of Columbia


 Assigned to: Judge Candy W. Dale

 Defendant (1)
 Michael Pope                                                            represented by Michael G Palmer
                                                                                        Palmer George & Taylor PLLC
                                                                                        923 N. 3rd Street
                                                                                        Coeur d'Alene, ID 83814
                                                                                        (208) 665-5778
                                                                                        Fax: (208) 676-1683
                                                                                        Email: michael@cdalawoffice.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Retained

 Pending Counts                                                                        Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                     Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 None



 Plaintiff
 USA                                                                     represented by Traci Jo Whelan
                                                                                        US ATTORNEY'S OFFICE
                                                                                        6450 N. Mineral Drive
                                                                                        Suite 210
                                                                                        Coeur d'Alene, ID 83815
                                                                                        (208) 667-6568

https://ecf.idd.uscourts.gov/cgi-bin/DktRpt.pl?216321317560576-L_1_0-1                                                    1/2
2/25/2021              Case 1:21-mj-00217-ZMF Document
                                                 District of 7   Filed
                                                             Idaho       02/12/21 Page 14 of 14
                                                                   Live CM/ECF

                                                                         Email: Traci.Whelan@usdoj.gov
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED
                                                                         Designation: Retained

  Date Filed            # Docket Text
  02/12/2021           1 Rule 5(c)(3) Documents Received from the District of Columbia Case No. 1:21-mj-217 as
                         to Michael Pope (Notice sent to USP & USM) (Attachments: # 1 Arrest Warrant, # 2
                         Warrant page 2)(jd) (Additional attachment(s) added on 2/12/2021: # 3 Order) (jd).
                         (Additional attachment(s) added on 2/12/2021: # 4 Cover Sheet) (jd). (Additional
                         attachment(s) added on 2/12/2021: # 5 Statement of Facts) (jd).
  02/12/2021           2 DOCKET TEXT NOTICE OF HEARING as to Michael Pope. (Notice sent to USP &
                         USM) Video Initial Appearance - Rule 5(c)(3) set for 2/12/2021 04:00 PM in Video - Boise
                         to Other location (Mountain Time) before Judge Candy W. Dale. Counsel to receive video
                         link via separate notification. Members of the public may use the following to attend this
                         matter via Audio ONLY: 1-669-254-5252, Meeting ID: 160 282 7937, Meeting Password:
                         601411. Persons granted remote access to proceedings are reminded of the general
                         prohibition under federal law and Local Rule 83.1 against photographing, recording, and
                         rebroadcasting of court proceedings (st) Modified on 2/12/2021 to add zoom information
                         (st).
  02/12/2021           3 Minute Entry for proceedings held before Judge Candy W. Dale:Video Initial
                         Appearance/Preliminary Exam in Rule 5(c)(3) Proceedings as to Michael Pope held on
                         2/12/2021. (Notice sent to USP & USM) (ESR: Sunny Trumbull.) Audio File saved via
                         zoom. (st)
  02/12/2021           4 ORDER Setting Conditions of Release (Notice sent to USP & USM). Signed by Judge
                         Candy W. Dale.(caused to be mailed to non Registered Participants at the addresses listed
                         on the Notice of Electronic Filing (NEF) by (st)
  02/12/2021           5 WAIVER of Rule 5(c)(3) Hearing (signed by defendant only) by Michael Pope. (Notice sent
                         to USP & USM) (st) (Additional attachment(s) added on 2/16/2021: # 1 Waiver signed by
                         defense counsel) (st).
  02/12/2021           6 Penalty Sheet as to Defendant Michael Pope re 1 Rule 5(c)(3) Documents. (jp) (Entered:
                         02/17/2021)



                                                         PACER Service Center
                                                             Transaction Receipt
                                                                02/25/2021 08:47:56
                                    PACER                                          Client
                                                   laurencepierrelouis:6666203:0
                                    Login:                                         Code:
                                                                                   Search      2:21-mj-
                                    Description: Docket Report
                                                                                   Criteria:   00420-CWD
                                    Billable
                                                   1                               Cost:       0.10
                                    Pages:
                                    Exempt                                         Exempt
                                                   Exempt                                      Always
                                    flag:                                          reason:


PACER fee: Exempt
https://ecf.idd.uscourts.gov/cgi-bin/DktRpt.pl?216321317560576-L_1_0-1                                                2/2
